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UNITED STATES DISTRICT CoURT
FoR THE DIsTRICT oF RHoDE IsLAND

MARK MANCINI,
PLAINTIFF

v. : C.A. No. 13-092-S-PAS

CHY oF PROVIDENCE, by and Through Its
Treasurer, james J. Lombardi, III, and
HUGH CLEMENTS, JR.,

DEFENDANTS.

PLAINTIFF’s OPPosITloN To DEFENDANT’$ MoTIoN FoR SUMMARY ]UDGMENT
(Doc. No. 85)

Now comes I\/lARK MANCINI, the plaintiff in the above-captioned matter, by and through his
attorney, pursuant to Rules 7 and 56 of the Federal Rules of Civil Procedure and Local Rules CV7
and CV56 of the United St:ates District Court for the District of Rhode lsland, and hereby opposes
Defendant’s Motion for Summary judgement (Doc. No. 85).

As grounds for his opposition, Plainu`ff relies on his Memorandum of Law to be filed With

the Court.

MARK MANCINI
By His Attorney,

gs [ Mark P. Gaghardi
Mark P. Gaghardi (#6819)

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Dated: June 9, 2017

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CERTIFICATE oF SERVICE

l hereby certify this on the Q§_l; day of]une, 2017, this document Was filed through the ECF
system With the Cle):k of the U.S. District Court for the District of Rhode lsland and, therefore, all
counsel-of-record has received notice electronically

/s/ Mark P. Ganiardi

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